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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JOHN DOE 1, and

 JOHN DOE 2,


                        Plaintiffs,

                v.

 THE ISLAMIC REPUBLIC OF IRAN;

 THE ISLAMIC REVOLUTIONARY GUARD                            Case #: 1:20-cv-3043
 CORPS,

 EYED ALI HOSSEINI KHAMENEI, The Supreme
 Leader of the Islamic Republic of Iran,

 HOSSEIN SALAMI, Commander in Chief of IRGC;

 c/o Ministry of Foreign Affairs
 Khomeni Avenue,
 United Nations Street
 Tehran, Iran

                        Defendants.




                                          COMPLAINT

1.     Plaintiffs, John Doe 1 and John Doe 2, by and through undersigned counsel, bring suit

       against Defendants the Islamic Republic of Iran, the Islamic Revolutionary Guard Corps

       (“IRGC”), and IRGC Commander-in-Chief Hossein Salami (collectively “Defendants”)

       under the Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602 et seq. (“FSIA”), for

       severe personal injuries, wrongful death, and other irreparable harm suffered as a result of

       Defendants’ unlawful acts of terrorism, aircraft sabotage, extrajudicial killing, and other

       torts against Plaintiff and Plaintiffs’ immediate relatives.

 2.    Plaintiffs John Doe 1 and John Doe 2 bring this complaint in order to recover for the actions

       of the Iranian government, IRGC, and its agents in the unlawful targeting and downing of

       Ukraine International Airlines Flight PS752 on January 8, 2020, resulting in the deaths of

       176 passengers and crew. Plaintiff John Doe #1’s brother (“John_Doe_1_Brother”), along

       with his wife, and his niece were passengers aboard the flight, and all died in the crash.

       Plaintiff John Doe #2’s sister (“John_Doe_2_Sister”) was a passenger aboard the flight,

       and died in the crash. The Iranian government has acknowledged targeting of Flight PS752

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        and shutting down the aircraft with two missiles.

                                     JURISDICTION AND VENUE

3.      This Court has jurisdiction over this matter and over Defendants pursuant to

        28 U.S.C. §§ 1330(a), 1330(b), 1331, 1332(a)(2) and 1605A(a)(1), which create subject

        matter jurisdiction and personal jurisdiction for civil actions for personal injuries against

        State Sponsors of Terrorism and their officials, employees, and agents.

4.      28 U.S.C. § 1605A(c) provides a federal private right of action against a foreign state that

        is or was a State Sponsor of Terrorism, and also against any official, employee or agent of

        that foreign state while acting within the scope of his or her office, employment or agency,

        for personal injury and related torts.

5.      The venue is proper in this district pursuant to 28 U.S.C. § 1391(f)(4).

                                                 PARTIES

6.      Plaintiff John Doe 1 is the brother of Flight PS752 victim “John_Doe_1_Brother”, who

        perished in the crash of the aircraft outside of Tehran, Iran after Iranian air defense forces

        fired two missiles at the civilian aircraft. Decedent John_Doe_1_Brother was a Canadian

        citizen at the time of his death. Plaintiff is a U.S. Citizen, now and at the time of the

        incident.

7.      Plaintiff John Doe 2 is the brother of Flight PS752 victim “John_Doe_2_Sister”, who

        perished in the crash of the aircraft outside of Tehran, Iran after Iranian air defense forces

        fired two missiles at the civilian aircraft. Decedent John_Doe_2_Sister was a Canadian

        citizen at the time of her death. Plaintiff is a U.S. Citizen, now and at the time of the

        incident.

8.      Defendant the Islamic Republic of Iran is a foreign state. Iran is a theocratic republic with

        an elected head of government and a head of state—the Ayatollah or Supreme Leader—

        appointed for life by a council of theologians. The Supreme Leader controls the Guardian

        Council of the Constitution, which interprets the Iranian Constitution, supervises elections

        (including determining which candidates may run), and exercises significant influence over

        the legislative, executive, and judicial branches of government, as well as the military and

        IRGC.

     9. Defendant Seyed Ali Hosseini Khamenei has been Iran’s Supreme Leader since 1989. He

        was previously the President of Iran from 1981 to 1989. As Supreme Leader, Khamenei


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        is the head of state of Iran and the commander-in-chief of its armed forces. For this

        reason, he is considered the most powerful political authority in the country. As Supreme

        Leader, Khamenei can issue decrees and make the final decisions on the main policies of

        the government in fields such as economy, the environment, foreign policy, and national

        planning within Iran. Khamenei has direct control over the executive, legislative and

        judicial branches of government, as well as the military and media. President Donald J.

        Trump imposed secondary sanctions on Ali Khamenei stating that: “in light of the actions

        of the Government of Iran…to promote international terrorism…hereby order: Section 1.

        (a) All property and interests in property that are in the United States, that hereafter come

        within the United States, or that are or hereafter come within the possession or control of

        any United States person of the following persons are blocked and may not be

        transferred, paid, exported, withdrawn, or otherwise dealt in: (i) the Supreme Leader of

        the Islamic Republic of Iran and the Iranian Supreme Leader’s Office (SLO)”. Exec.

        Order No. 13876, 84 Fed. Reg. 30574 (June. 26, 2019).

10.     Defendant the Iranian Revolutionary Guard Corps or IRGC is a military organization under

        the control of the Guardian Council. The IRGC was established in the wake of the Islamic

        Revolution to act as the country’s “ideological custodian”1 and is generally understood to

        be one of the most reactionary, powerful, and oppressive factions of the Iranian

        Government. The IRGC fields an army, navy, air force, and intelligence service, and it

        conducts foreign operations through its paramilitary arm, the Quds Force. The Quds Force

        has primary responsibility for arming pro-Iranian military groups across the Middle East

        and beyond, and has been designated by the U.S. Department of Treasury as a sponsor and

        supporter of terrorism.2

                                           STATEMENT OF FACTS

11.     On January 3, 2020, a United States drone strike near Baghdad International Airport

        resulted in the death of Iranian major general Qasem Soleimani, commander of the Quds

        Force of Iran’s Islamic Revolutionary Guard Corps (IRGC).

12.     Five days later, on January 8, 2020, Iran launched retaliatory missile strikes on U.S.



1
 . Greg Bruno et al., Iran’s Revolutionary Guard, COUNCIL ON FOREIGN RELATIONS (Jun. 14, 2013),
2
 . U.S. DEP’T OF TREASURY, Blocking Property and Prohibiting Transactions with Persons who Commit, Threaten
to Commit, or Support Terrorism, www.treasury.gov/resource-center/sanctions/Programs/Documents/terror.pdf.


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      positions in Iraq, and according to Commander of the Aerospace Force of the IRGC, was

      “totally prepared for a full-fledged war.”

13.   Ukraine International Airlines (“UIA”) passenger flight PS752 was traveling from Tehran

      to Kyiv, Ukraine on January 8, 2020 and was scheduled for departure from Imam Khomeini

      International Airport at 05:15 local time but was delayed for nearly an hour, departing at

      06:12 local time.

14.   Shortly after takeoff, the aircraft was targeted and shot down by the IRGC. All 176

      passengers and crew aboard were killed.

15.   Following the crash of Flight PS752, the Iranian government initially denied responsibility

      for the crash.

16.   However, following video evidence of two Iranian Tor-M1 surface-to-air missiles used to

      shoot down the aircraft, on January 11, 2020, Iranian President Hassan Rouhani admitted

      that the IRGC and Iranian military were responsible for the “mistaken” targeting and

      launch.

17.   In a July 13, 2020 interim report, the Iranian government claimed that “human error” in

      the military’s weapons system caused the aircraft to be erroneously identified as a cruise

      missile.

18.   In response, Canadian Foreign Minister Francois-Philippe Champagne stated, “It cannot

      just be the result of a human error. There is no circumstance under (which) a civilian

      aircraft can be downed just by the result of human error in this day and age . . . All the facts

      and circumstances point to more than just a human error”.

19.   Recorders from Flight PS752 have been analyzed by French accident analysis bureau BEA,

      confirming Iran’s interference with the aircraft. The data was not released to media or

      family members.

20.   Plaintiffs assert that Iran’s attack on Flight PS752 was a deliberate act of terrorism in the

      context of the 2019-2020 Persian Gulf Crisis, and that the deaths of the passengers and

      crew were an intended outcome of this terrorist act. The Iranian government caused these

      deaths by committing acts of torture, extrajudicial killing, and aircraft sabotage, as defined

      under FSIA §1605.

                                         COUNT I
                   28 U.S.C. 1605A(c), PRIVATE RIGHT OF ACTION

21.   Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

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22.   Iran is a state sponsor of terrorism as described in 28 U.S.C. §1605A(a)(2)(A)(i).

23.   Iran and its agents were acting within the scope of their office, employment, or agency in

      committing the acts alleged herein, including, but not limited to, the identification,

      targeting, and firing upon Flight PS752, as well as in the subsequent initial denials of

      responsibility.

24.   Defendants have acknowledged responsibility for firing the two surface-to-air missiles that

      caused Flight PS752 to crash, killing all persons on board. Such an act was deliberately

      done with the intent to cause the aircraft to crash, regardless of any arguments Defendants

      may raise to claim that the aircraft was mistakenly identified as a cruise missile.

25.   Plaintiffs assert that Defendants could not have reasonably mistaken the approximately

      129ft Boeing 737-800 aircraft—the most widely used narrowbody aircraft—with a cruise

      missile, and instead intentionally targeted a civilian aircraft with military weaponry.

26.   Plaintiff assert that Defendants act intentionally to have human life at risk to potentially

      prevent a potential U.S. attack. Defendant failed to clear Iranian air space of commercial

      flights against International Aviation Treaties.

27.   As a direct and proximate result of the willful, wrongful, intentional, and reckless acts of

      IRGC and its agents whose acts were funded and directed by the Islamic Republic of Iran,

      and other Iranian’s government entities, Plaintiffs have suffered, inter alia, mental anguish

      and emotional pain and suffering due to the deaths of their relatives resulting from Iranian

      Defendants’ acts, and additionally due to Defendants’ initial denial of responsibility, which

      further caused confusion and anguish to Plaintiffs.

28.   Pursuant to 28 U.S.C. §1605A(c), Plaintiffs, who are nationals of the United States, may

      assert a cause of action against Defendants for personal injury or death to their relatives,

      passengers John_Doe_1_Brother and John_Doe_2_Sister, caused by acts of aircraft

      sabotage and extrajudicial killing, if performed or provided by an official, employee, or

      agent of Iran while acting within the scope of his or her office, employment, or agency.

29.   Accordingly, as a result of Defendants’ actions, Plaintiffs seek compensatory and punitive

      damages. Plaintiffs are asking for One Hundred Million USD ($100,000,000) in

      compensatory damages and One Billion USD ($1,000,000,000) in punitive damages.

                                       COUNT II
                                 ASSAULT AND BATTERY

30.   Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

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31.      “An actor is subject to liability to another for assault if (a) he acts intending to cause a

         harmful or offensive contact with the person of the other or a third person, or an imminent

         apprehension of such contact, and (b) the other is thereby put in such imminent

         apprehension.”3

32.      The passengers and crew of Flight PS752 were deliberately fired upon by Defendants using

         two military missiles, causing a violent and catastrophic collision and crash to earth.

         Recordings from the aircraft demonstrate that the two missiles were launched

         approximately 30 seconds apart, indicating that those aboard had time to contemplate the

         threat and to experience fear for their lives. All aboard were killed due to this act of

         violence, constituting both assault and battery.

33.      Extrajudicial killing, under the FSIA, constitutes assault because “acts of terrorism are, by

         their very nature, intended to harm and to terrify by instilling fear of further harm.” 4

34.      Plaintiffs seek damages to compensate for continuous pain and suffering to be calculated

         at trial.

                                           COUNT III
                           EXTRAJUDICIAL KILLING UNDER TVPA
                          Against Defendants Seyed Ali Hosseini Khamenei
                                        And Hossein Salami


35.      Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

36.      The Torture Victim Protection Act of 1991 (“TVPA”) provides a civil right of action for

         individuals who have been subjected to torture or extrajudicial killing. “An individual who,

         under actual or apparent authority, or color of law, of any foreign nation subjects an

         individual to extrajudicial killing shall, in a civil action, be liable for damages to the

         individual’s legal representative, or to any person who may be a claimant in an action for

         wrongful death.” TVPA Section 2(a)(2).

37.      The TVPA defines extrajudicial killing as:

             “[A] deliberated killing not authorized by a previous judgment pronounced by
             a regularly constituted court affording all the judicial guarantees which are
             recognized as indispensable by civilized peoples. Such term, however, does not
             include any such killing that, under international law, is lawfully carried out
             under the authority of a foreign nation.” TVPA Section 3(a)

38.      The passengers and crew of Flight PS752 were all killed when the Iranian military


3
 . Restatement (Second) of Torts § 21 (Am. Law Inst. 1965).
4
 . Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 76 (D.D.C. 2010).


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         deliberately targeted and shot down the aircraft. Flight PS752 was a commercial, civilian

         aircraft with no military significance under international law. The targeting of the aircraft

         and subsequent killing of every person on board was done in direct violation of

         international law.

39.      Defendants directed the attack against civilian on a commercial flight, this airline sabotage

         took the life of 176 passenger, including Plaintiffs relatives.

40.      Exhaustion of local remedies under the TVPA should be waived where such attempts

         would be obviously futile. 5 Therefore, Plaintiffs seek damages for this count for One

         Hundred Million Dollars ($100,000,000).

                                    COUNT IV
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

41.      Plaintiffs incorporate by reference the allegations of the preceding paragraphs.

42.      Defendants’ conduct in causing the sudden and violent deaths of the passengers and crew

         of Flight PS752 caused Plaintiffs to suffer severe emotional harm, including depression,

         suicidal ideation, symptoms of post-traumatic stress disorder, and irreparable harm to their

         relationships with parents and other friends and family.

43.      As a state sponsor of terrorism engaging in an act of terror against a civilian aircraft

         carrying passengers of various nationalities, Plaintiffs assert that Iran intentionally inflicted

         the emotional distress suffered by Plaintiffs. Not only were the passengers’ and crew

         members’ lives unjustly taken, but their friends and family—as well as persons around the

         world—were placed in a state of fear and emotional distress by this act of terrorism.

44.      Plaintiffs seek damages for this count to be calculated at trial.

                                                COUNT V
                                           PUNITIVE DAMAGES

45.      Plaintiffs repeat and reallege each and every allegation set forth above with like effect as

         if alleged herein.

46.      The actions of the Islamic Republic of Iran, which has been committing, sponsoring, and

         supporting acts of international terror against international and domestic targets, have led

         to its decades-long designation as a State Sponsor of Terror.

47.      The acts of the Defendants, and each of them carried out by their agents as described above,

         were malicious, willful, unlawful and in wanton disregard of life and the standards of law


5
 . See Jean v. Dorelien, 431 F.3d 776, 781-83 (11th Cir. 2005).

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       that govern the actions of civilized nations. The personal injury and death of Flight PS752’s

       passengers and crew, as well as anguish of Plaintiffs as above described were intended as

       a result by Iran. Decedents John_Doe_1_Brother and John_Doe_2_Sister were victims of

       the acts of terror committed by Iran with the material support of each of the Defendants. In

       accordance with the provisions of 28 U.S.C. §1605A(c), the Plaintiffs are thereby entitled

       to a maximal award of punitive damages to the fullest extent of the law.

48.    Iran, as a country with a history of human rights abuses and severe violations of

       international law, has caused the suffering of many who promote internationally acceptable

       norms and human rights. Many Iranians and foreigners, including Americans, have lost

       life, liberty, health, and property due to continued acts of terror conducted by Iran.

49.    This case is among few bringing light to domestic acts of terror by Iran against human

       rights activists and those fighting the brutal regime of Iran. The punitive penalty of such

       activities should be so high as to prevent Iran from violating international human rights,

       torturing individuals, taking hostages, and committing extrajudicial killings. Iran has an

       indefensible record of human right abuses; it has been condemned internationally by each

       and every United Nations Commission. Unfortunately, there were no penalties imposed on

       Iran for its violations in similar cases at hand.

50.    Plaintiffs pray that judgment be entered, jointly and severally, against the Islamic Republic

       of Iran and the Islamic Revolutionary Guard Corps., in the amount of One Billion USD

       ($1,000,000,000).

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment against all Defendants and respectfully

request the following relief:

51.    Plaintiffs are entitled to compensatory damages for intentional infliction of emotional

       distress, wrongful death, extrajudicial killing, and assault and battery suffered as a result

       of aircraft sabotage and deliberate acts of terrorism.

52.    Plaintiffs are entitled to aggravated damages for Defendants’ cruelty and acts of terror.

53.    Plaintiffs are otherwise entitled to general damages and all other applicable damages.

54.    Punitive damages should be assessed (under 28 U.S.C. § 1605A(c)).

55.    The Court should award Plaintiffs full costs and attorneys’ fees as incidental damages and

       as otherwise appropriate.


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56.   The Court should grant such further and other relief as this Court deems just and proper.



Dated: October 16, 2020


                                                   Respectfully submitted,



                                                   __________________________
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